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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff-Respondent,

v.                                                                     Criminal Case No. 00-80128
                                                                       Civil Case No. 11-13333
                                                                       Honorable Denise Page Hood
RODERICK HENRY,

                       Defendant-Petitioner.

                                                    /

                                          JUDGMENT


         IT IS ORDERED AND ADJUDGED that pursuant to this Court’s Order entered on this

date February 29, 2012 this cause of action is DISMISSED. Accordingly, judgment is

entered in favor of Plaintiff-Respondent and against Defendant-Petitioner.

         Dated at Detroit, Michigan this 29th day of February, 2012.


                                                            DAVID J. WEAVER
                                                            CLERK OF THE COURT

                                                            BY: s/LaShawn Saulsberry
                                                                   Deputy Clerk
APPROVED:

s/Denise Page Hood
DENISE PAGE HOOD
UNITED STATES DISTRICT JUDGE

I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, Wednesday, February 29, 2012, by electronic and/or ordinary mail.

                                               s/LaShawn R. Saulsberry
                                               Case Manager
